














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


										




NO. WR-70,152-01






EX PARTE GERONIMO GUTIERREZ








ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE


NO. 2001-CR-1577-W1 IN THE 227TH JUDICIAL DISTRICT COURT


BEXAR COUNTY






	Per Curiam.  


O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	On April 12, 2002, a jury convicted applicant of the offense of capital murder.  The
jury answered the special issues submitted pursuant to Texas Code of Criminal Procedure
article 37.071, and the trial court, accordingly, set punishment at death.  This Court affirmed
applicant's conviction and sentence on direct appeal.  Gutierrez v. State, No. AP-74,341
(Tex. Crim. App. April 21, 2004) (not designated for publication).

	Applicant presents ten allegations in his application in which he challenges the
validity of his conviction and resulting sentence.  An evidentiary hearing was held, the trial
judge entered findings of fact and conclusions of law.  The trial court recommended that
relief be denied.

	This Court has reviewed the record with respect to the allegations made by applicant. 
We adopt the trial judge's findings and conclusions.  Based upon the trial court's findings
and conclusions and our own review, relief is denied.

	IT IS SO ORDERED THIS THE 1ST DAY OF OCTOBER, 2008.


Do Not Publish


